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United States v. Reality Leigh Winner
CR 117-34

Government’s Response to Defendant’s
Motion to Suppress

Attachment C — Photos
Taken During Search, June
3, 2017
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ATTACHMENT C-2

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ATTACHMENT C-3

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ATTACHMENT C-4

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ATTACHMENT C-5

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